                             IN THE UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF VIRGINIA



    ELIZABETH SINES ET AL.                                  :       Case No. 3:17-CV-00072

                        Plaintiff                           :      Judge MOON
                                                                   Mag. Judge Hoppe

                                                            :
               -v-

    JASON KESSLER ET AL.                                    :

                                                            :
                        Defendants

    _______________________________________________________

         Memorandum in support of Nationalist Front’s Motion to Dismiss
    _______________________________________________________


          1. Nationalist Front is not an entity that can be sued

               Plaintiffs have alleged that Nationalist Front (“NF”) “is an unincorporated

    association pursuant to Virginia Code § 8.01-15”. 1 The declaration of Mr. Jeff Schoep is

    attached and incorporated by reference herein.

               Mr. Schoep declares facts that establish that NF is merely a website that

    advertises the existence of certain “Alt-Right” groups should anyone be interested in

    learning more or contacting an individual organization. The NF also contains a list of

    aspirations for interested groups to attempt to adhere to.


    1
        Complaint at ¶ 40.


                                     1
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               Virginia Code § 8.01-15 defines unincorporated associations as those which are

    commonly known or called by a name under which they do business. It also provides for

    judgments to attach the real and personal property of an unincorporated association “as if

    it were a corporation.”

               Mr. Schoep’s declaration establishes that NF has no property nor is it capable of

    holding property. It conducts no business, for profit or otherwise. In short, NF does not

    meet the Virginia statutory definition of an unincorporated association.

               Further, the Plaintiffs have not alleged any facts that would establish NF is an

    unincorporated association. Rather, Plaintiffs merely make a conclusory allegation that

    NF is an “umbrella organization” consisting of unspecified groups together with certain

    other party defendants to this action. 2 This allegation, standing alone, is insufficient to

    establish NF as an unincorporated association under Virginia law. It is further insufficient

    to establish that NF may be sued under “it’s common name” under federal law.

               Therefore, pursuant to FRCP 17(b)(3) NF must be dismissed from this lawsuit as

    other party defendants already sued are the appropriate parties in interest.


          2. Federal Claims

               42 U.S.C. § 1985(3) is not intended to serve as a "general federal tort law,"

    Griffin v. Breckenridge, 403 U.S. 88, 102 (1971). It therefore “does not itself create any

    substantive rights but rather merely serves as a vehicle for vindicating some otherwise

    defined federal right, Great Am. Fed. Sav. & Loan Ass'n v. Novotny, 442 U.S. 366, 376

    (1979).




    2
        Complaint at ¶40.


                                     2
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           In order to state a claim for a private conspiracy under the "equal protection"

    clause of § 1985(3), the plaintiff must allege that “the conspiracy was: (1) motivated by a

    class-based invidiously discriminatory animus; and (2) "aimed at interfering with rights

    that are protected against private, as well as official, encroachment." Bray v. Alexandria

    Women's Health Clinic, 506 U.S. 263, 267-68 (1993); Tilton v. Richardson, 6 F.3d 683,

    686 (10th Cir. 1993).

           The Supreme Court has recognized only two rights that are protected against

    private action under § 1985(3): the right to be free from involuntary servitude and the

    right of interstate travel in the context of the Thirteenth Amendment. Bray, 506 U.S. at

    278; Tilton, 6 F.3d at 686-87.

           Though Plaintiffs Complaint rambles on for 96 pages and includes 347 numbered

    paragraphs it contains no colorable allegation defendant Nationalist Front tried to, or

    conspired to, impair any of the Plaintiff’s rights to travel or to be free of involuntary

    servitude. As such the § 1985 claim must fail.

           Similarly, the 42 USC § 1986 claim must also fail as since Plaintiffs failed to state

    a § 1985 claim than it is not possible for them to pursue a claim based on knowingly

    failing to stop or attempt to stop a legally non-actionable § 1985 conspiracy.

           Accordingly, Counts 1 and 2 of the Plaintiff’s Complaint must be dismissed as

    against defendant Nationalist Front.

       3. State law claims

           The Plaintiffs have not stated sufficient factual allegations to sustain either state

    law claims against Nationalist Front (“NF”). NF is specified in only 11 of Plaintiffs 347

    Complaint paragraphs.




                                     3
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           In paragraph 32 NF is identified but not alleged to have done anything. In

    paragraph 33 NF is again identified but not accused of doing anything.

           In paragraph 38 NF is mentioned as being thanked for being “warriors” along

    with a laundry list of other groups but not alleged to have taken any specific action

    whatsoever.

           In paragraph 40 NF is accused of being a uniting thread whose unspecified

    “members” took unspecified actions to engage in unspecified “unlawful acts”.

           In paragraph 45 NF is accused of conspiring to organize and participate in

    violence. No specifics whatsoever are attached to these conclusory allegations.

           In paragraph 63 NF is again accused of conspiring with a phone book full of

    people, both named and unnamed, to commit to “organize, promote, and commit

    unlawful acts. No hint of how NF did any of this is offered by Plaintiffs.

           In paragraph 64 NF is accused of expanded it’s conspiracy to include “other

    allies” for purposes of an unlawful “joint operation.” Who these allies were and what the

    joint operation or how NF participated in same is not fleshed out by Plaintiffs other than

    with the conclusory “violent and unlawful acts” language.

           In paragraph 172 NF is accused of “participat(ing) in the violent events of the

    day” with co-conspirators. How NF did this is not explained in any way.

           In paragraph 181 NF is accused of marching in formation toward the rally

    location and nothing more. In paragraph 186 NF is accused of being present while others

    shouted obscenities at citizens on the street. It is not clear from this paragraph whether

    NF is accused of shouting or merely being present during the shouting.




                                     4
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           In paragraph 187 NF is not specifically accused of doing anything. In paragraph

    194 NF is accused of forming or helping to form “shield walls” for “the fight”.

           Finally, in paragraph 291 NF is once again accused of conspiring with “other

    allies” to perpetrate unspecified unlawful acts against unspecified persons.

           Allegations against “Defendants” throughout the complaint either appear to not

    include NF or are so vague and non-specific as not link NF to any wrongful conduct

    whatsoever.

           The plaintiffs have not brought negligence causes of action. Virginia law

    therefore requires them to “allege all facts necessary to establish the cause of action” that

    Plaintiff wishes to proceed under. Russo v. White, 400 SE 2d 160, 163 (1991.) Plaintiff

    has manifestly failed to do so as to defendant NF.

           Accordingly, Counts 3 and 5 of the plaintiff’s Complaint must be dismissed as

    against NF.

           For the reasons stated, all claims against defendant NF must be dismissed.



                                                  Respectfully Submitted,


                                                  s/ Elmer Woodard      __________
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                                   CERTIFICATE OF SERVICE

       I hereby certify this Notice and all accompanying documents were served via
       electronic mail on November 14, 2017 upon:

       All parties of record. No party is entitled to or has requested service by other means.

                                                         s/ Elmer Woodard
                                                         ___________________
                                                         E. Woodard (VSB 27734)




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